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                                         Bankruptcy Case Number: 23-10209


                                                       03621-TNW-DE-037241159




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on March 7, 2023, at 8:05 o'clock PM EST, Jason Prietz
completed a course on personal financial management given by internet by Credit
Card Management Services, Inc. d/b/a Debthelper.com, a provider approved
pursuant to 11 U.S.C. 111 to provide an instructional course concerning personal
financial management in the Western District of Tennessee.




Date:   March 7, 2023                    By:      /s/Lashonda Collins


                                         Name: Lashonda Collins


                                         Title:   Credit Counselor
